






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00784-CV






Melissa Gates, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-01-002857, HONORABLE WILLIAM E. BENDER, JUDGE PRESIDING





O P I N I O N


		Melissa Gates appeals from a judgment granting the Texas Department of Family
and&nbsp;Protective Services's plea to the jurisdiction and dismissing her lawsuit against it.  As its sole
ground for dismissal, the Department had urged that Gates had failed to exhaust her administrative
remedies.  Concluding that Gates was not required to exhaust any administrative remedies before
prosecuting her suit, we reverse the judgment of dismissal and remand to the district court for further
proceedings.


BACKGROUND

		At relevant times, Ms. Gates and her husband have been the parents of thirteen
children, eleven of whom were adopted and some of whom have special needs.  On Friday, February
11, 2000, personnel of the school district where some of the Gateses' children were enrolled
telephoned the Department and reported that the Gateses had allegedly abused one of the children
emotionally.  That evening, the Department took emergency custody of all thirteen children without
court order or consent.  See Tex. Fam. Code Ann. § 262.104 (West Supp. 2007). (1)  The following
Monday, the Department filed, in a Fort Bend County district court, a petition to terminate
the&nbsp;Gateses' parental rights and appoint the Department managing conservator.  Id. § 262.105
(West&nbsp;2002).  A hearing was held on the same day.  Id. § 262.106 (West 2002).  At the conclusion
of the hearing, the trial court ordered all thirteen children immediately returned to the Gateses.  See
id. §&nbsp;262.107 (West 2002).  Subsequently, in September 2000, the Department non-suited its
parental-termination action.

		In the meantime, Department staff had continued to investigate the report of
emotional abuse.  See id. § 261.301(a) (West Supp. 2007) (with assistance from appropriate law
enforcement agencies, Department "shall make a prompt and thorough investigation of a report of
child abuse or neglect allegedly committed by a person responsible for a child's care, custody, or
welfare.  The investigation shall be conducted without regard to any pending suit affecting
the&nbsp;parent-child relationship."). (2)  In April 2000, Department staff made administrative "summary
findings" of "reason-to-believe" that Melissa Gates is a "designated perpetrator" of "child abuse." 
See 40 Tex. Admin. Code §§ 700.511(b)(1), .512(b)(2) (2007); see also Texas Dep't of Family
&amp;&nbsp;Protective Servs. v. Barlow, No. 03-05-00469-CV, 2007 Tex. App. LEXIS 5087, at *2 &amp; n.4
(Tex.&nbsp;App.--Austin June 28, 2007, pet. denied) (mem. op.) (explaining that if the Department's staff
finds, by a preponderance of the evidence, that the reported abuse or neglect occurred and that "an
individual 'is responsible for [the] abuse or neglect of a child for whom that person has responsibility
for care, custody or welfare as defined by [family code] § 261.001(5),' it makes a 'summary finding'
that the individual is a 'designated perpetrator' of the abuse or neglect").  One consequence of such
a finding is that the "designated perpetrator's" name is placed in the Department's central registry
of reported child abuse and neglect cases.  See Tex. Fam. Code Ann. § 261.002 (West Supp. 2007);
40 Tex. Admin. Code § 700.104 (2007).  The parties do not dispute that Gates's name was entered
into the central registry and remains there. (3)

		A designated perpetrator is entitled to request removal of his or her name from
the&nbsp;central registry based on a favorable conclusion of the Department's administrative appeal
process or "any other final ruling which has the legal effect of ruling out all allegations against
that&nbsp;individual stemming from the investigation."  40 Tex. Admin. Code § 700.523 (2007).  The
legislature has mandated that "[t]he department shall by rule establish policies and procedures to
resolve complaints relating to and conduct reviews of child abuse or neglect investigations conducted
by the department."  Tex. Fam. Code Ann. § 261.309(a) (West 2002).  It has specified that the
Department must provide the following administrative remedy:


	(c) If, after the department's investigation, the person who is alleged to have
abused or neglected a child disputes the department's determination of whether child
abuse or neglect occurred, the person may request an administrative review of the
findings.  A department employee in administration who was not involved in or did
not directly supervise the investigation shall conduct the review.  The review must
sustain, alter, or reverse the department's original findings in the investigation.

	

	(d) Unless a civil or criminal court proceeding or an ongoing criminal
investigation relating to the alleged abuse or neglect investigated by the department
is pending, the department employee shall conduct the review prescribed by
Subsection (c) as soon as possible but not later than the 45th day after the date the
department receives the request.  If a civil or criminal court proceeding or an ongoing
criminal investigation is pending, the department may postpone the review until the
court proceeding is completed.


	(e) A person is not required to exhaust the remedies provided by this section
before pursuing a judicial remedy provided by law.


	(f) This section does not provide for a review of an order rendered by a court.



Id. § 261.309.  The Department's rules further elaborate that this administrative remedy,
which&nbsp;it&nbsp;terms an "Administrative Review of Investigative Findings" (ARIF), "is an informal
review&nbsp;in&nbsp;which the requestor, investigation worker, and investigation supervisor may
appear,&nbsp;make&nbsp;statements, provide relevant written materials, and ask questions," although "[o]ther
interested individuals may&nbsp;participate or provide information at the sole discretion of the reviewer." 
40 Tex.&nbsp;Admin. Code §&nbsp;700.516(f) (2007).  "The reviewer may review the investigation case record,
ask questions, and&nbsp;gather other relevant information," and "[t]he formal rules of evidence do not
apply." Id. §&nbsp;700.516(g).

		The Department by rule has created additional procedural stages in its administrative
review process.  Simply described, the Department's rules provide two "tracks" for appeals of its
administrative findings of child abuse or neglect.  Under one track, a person dissatisfied with the
outcome of an ARIF may appeal to the Department's Office of Consumer Affairs.  Id. §§&nbsp;702.801-.849 (2007).  The Department apparently maintains that no further administrative appeal lies
from&nbsp;that determination and that the proceeding is not a "contested case" under the APA that would
entitle the complaining party to judicial review under the APA. (4)  Under the other track, the
complaining party is afforded the right to a contested-case hearing before the State Office of
Administrative Hearings, followed by a right to judicial review.  Id. §§ 730.1701-.1702 (2007); see
Texas Dep't of Protective &amp; Regulatory Servs. v. Mega Child Care, Inc., 145 S.W.3d 170, 199
(Tex.&nbsp;2004).  The Department's rules make the SOAH track available only to "any alleged
perpetrator about whom a finding of child abuse or neglect or adult abuse, neglect, or exploitation
is to be released without that individual's consent" or "against whom an adverse action"--as defined
elsewhere in the rules--"is to be taken by the department."  Id. § 730.1702(a), (b).  When an
administrative appeal is on this track, the Department has purported to confer discretion on itself to
grant or "waive" an ARIF and&nbsp;proceed directly to SOAH.  Id. § 700.516(j) ("Notwithstanding
anything in this section, if an individual is entitled to an administrative hearing before the State
Office of Administrative Hearings (SOAH), [the Department] may, in its sole discretion, waive the
conduct of an ARIF and proceed directly to the SOAH hearing"); see also id. §&nbsp;700.605 (2007)
(where "release hearing" is required, if "the person filing the appeal has not already been given an
[ARIF] relating to those same findings . . . [the Department] may, at its own discretion, offer an
ARIF prior to scheduling a release hearing.").

		In April 2000, Gates timely requested an ARIF, a step that ordinarily would have
triggered the 45-day deadline for the Department to conduct the review.  See Tex. Fam. Code Ann.
§ 261.309(d); 40 Tex. Admin. Code § 700.516(d).  However, the Department, purporting to rely on
the "pending litigation" exception to the 45-day deadline, declined to schedule the ARIF until mid-2006.  See Tex. Fam. Code Ann. § 261.309(d); 40 Tex. Admin. Code § 700.516(e). (5)

		Meanwhile, on August 30, 2001, Gates filed the lawsuit that gives rise to this appeal. 
Among other theories, Gates alleges that the Department's findings and ongoing maintenance of her
name in its central registry deprive her of her fundamental right and liberty interest in familial
integrity without due process of law.  Gates seeks declarations that her designation and continued
placement in the registry violates her due process rights, (6) as well as a mandatory injunction and
mandamus compelling the Department to purge its registry of all information relating to her.

		Gates's suit was initially set for trial on April 24, 2006, but was later reset for
October&nbsp;2, 2006.  During the interim, on June 13, 2006, the Department's "Deputy Regional
Director, Region 3, Child Protective Services" wrote the Gateses, giving notice that the ARIF they
had requested six years earlier "will now be held," advising that "I have set aside time to meet
with&nbsp;you on July 13, 2006, from 12:30 p.m. to 2:00 p.m.," and requesting the Gateses to confirm
their availability.  Emphasizing "our fervent desire to have our names cleared in every regard" and
resulting interest in not "leav[ing] any stone unturned in preparation for the hearing," the Gateses
responded on June 22 with several questions regarding the procedures "at the hearing," including
whether and how their witnesses (including "numerous doctors, psychologists, and social workers"
or their children) could present testimony, whether or how state workers would be compelled to
attend, and whether they would need a court reporter.  They expressed concern that scheduling
problems with their witnesses might render the proposed date infeasible and that the allotted
90&nbsp;minutes would be inadequate.  The Department official responded on July 7 with a short letter
summarizing the informal and limited review procedures of the ARIF and proposing dates for
rescheduling the ARIF.  This prompted further inquiries from the Gateses.  Several more similar
rounds of correspondence followed, without agreement as to a date for the ARIF. (7)

		On September 25, 2006, the Department faxed to Gates a letter from its "Assistant
Commissioner, Child Protective Services," chiding the Gateses for what the Department
characterized as their "refusal to confirm any date that has been offered to you for an administrative
review" and giving notice that the Department was unilaterally "waiving" the ARIF and relegating
Gates to seeking a contested-case hearing before SOAH. (8)  See 40 Tex. Admin. Code § 700.516(j). 
The letter stated that Gates had thirty days to file a written request for their "formal due process
hearing" before SOAH or waive her right to contest the administrative findings.  The letter closed
with the following warning:


If you waive your right to a due process hearing or the SOAH judge upholds the
abuse and/or neglect finding, [the Department] will be able to release your name and
the finding to persons who monitor your access to, custody over, or control of
children.  This may jeopardize your ability to work or to be present in childcare
related occupations, to work for certain volunteer agencies, or to be a foster or
adoptive parent.



		On the same day that it notified Gates that it had "waived" her ARIF and would
be&nbsp;proceeding to SOAH, the Department filed a plea to the jurisdiction seeking to have Gates's
lawsuit dismissed.  The sole asserted basis for the plea was that Gates had failed to exhaust
her&nbsp;administrative remedies--the SOAH hearing.  A hearing on the plea to the jurisdiction was
held&nbsp;three days later.  At the hearing's conclusion, the district court granted the plea and dismissed
Gates's lawsuit in its entirety. (9)  This appeal followed.


ANALYSIS

		On appeal, Gates brings three issues, arguing principally that the district court erred
in concluding that it lacked subject-matter jurisdiction and in dismissing the suit in its entirety.  As
subsidiary contentions, Gates urges that the Department acted in excess of its statutory authority in
purporting to limit her administrative and judicial remedies and that section 700.516(j) of the
administrative code did not authorize the Department to unilaterally waive her ARIF and relegate
her to a SOAH hearing.

		An exhaustion-of-administrative-remedies requirement is a corollary of an agency's
exclusive jurisdiction to make the initial determination in a dispute.  See Texas Mut. Ins. Co. v. Texas
Dep't of Ins., 214 S.W.3d 613, 616 (Tex. App.--Austin 2006, no pet.) ("[W]here an agency has
exclusive jurisdiction, the courts have no subject matter jurisdiction, and a party can turn to the
courts only after first exhausting all administrative remedies."); Department of Protective
&amp;&nbsp;Regulatory Servs. v. Schultz, 101 S.W.3d 512, 518 (Tex. App.--Houston [1st Dist.] 2002, no pet.). 
Our analytical starting point for determining whether a trial court or administrative agency has
subject-matter jurisdiction over a dispute is article V, section 8 of the Texas Constitution.  It provides
that a district court's jurisdiction "consists of exclusive, appellate, and original jurisdiction of
all&nbsp;actions, proceedings, and remedies, except in cases where exclusive, appellate, or original
jurisdiction may be conferred by this Constitution or other law on some other court, tribunal, or
administrative body."  Tex. Const. art. V, § 8.  The legislature has provided by statute that district
courts possess "the jurisdiction provided by Article V, Section 8, of the Texas Constitution," and
"may hear and determine any cause that is cognizable by courts of law or equity and may grant any
relief that could be granted by either courts of law or equity."  Tex. Gov't Code Ann. §§ 24.007-.008
(West 2004).  Thus, "[c]ourts of general jurisdiction presumably have subject matter jurisdiction
unless a contrary showing is made."  Subaru of Am., Inc. v. David McDavid Nissan, Inc., 84 S.W.3d
212, 220 (Tex. 2002).

		By contrast, "there is no presumption that administrative agencies are authorized
to&nbsp;resolve disputes.  Rather, they may exercise only those powers the law, in clear and express
statutory language, confers upon them."  Id.  "Courts will not imply additional authority to agencies,
nor&nbsp;may&nbsp;agencies create for themselves any excess powers."  Id.  The courts are not divested by an
agency of the subject-matter jurisdiction they would otherwise possess to adjudicate a dispute unless
the legislature has granted the agency exclusive jurisdiction, or the sole power to make the initial
determination in the dispute.  Id. at 221; Bexar Metro. Water Dist. v. City of Bulverde, 156 S.W.3d
79, 90 (Tex. App.--Austin 2004, pet. denied).  Whether an agency has exclusive jurisdiction is
determined by construction of the relevant statutory scheme.  See Thomas v. Long, 207 S.W.3d 334,
340 (Tex. 2006).  The legislature's intent to grant an agency the sole authority to make the initial
determination in a dispute may be reflected in either express statutory language to that effect or the
overall statutory scheme.  Id. at 340-42.

		At oral argument, the Department conceded that Gates was not required to exhaust
any administrative remedies before prosecuting her due-process claims challenging the Department's
procedures related to its central registry and administrative child abuse or neglect determinations.
See Juliff Gardens, L.L.C. v. Texas Comm'n on Envtl. Quality, 131 S.W.3d 271, 279
(Tex.&nbsp;App.--Austin 2004, no pet.).  Consequently, it acknowledges that the district court erred in
dismissing these claims.  However, the Department urges that, to the extent Gates seeks to challenge
the merits of the Department's administrative findings against her, those claims must be adjudicated
in the SOAH proceeding.

		We first observe that Gates's live pleadings appear to assert only the sorts of due-process challenges that the Department concedes Gates may prosecute in district court. (10)  Even
assuming that Gates's pleadings could be construed to challenge the merits of the administrative
findings themselves, however, we conclude that the legislature has not vested exclusive jurisdiction
over such complaints in the Department.

		In section 261.309 of the family code, as noted, the legislature explicitly provided
that&nbsp;the ARIF remedy is not exclusive of any judicial remedies:  "A person is not required to exhaust
the remedies provided by this section before pursuing a judicial remedy provided by law." 
Tex.&nbsp;Fam. Code Ann. § 261.309(e).  The Department does not dispute this, but instead urges that its
purported "waiver" of the pending ARIF in favor of a SOAH contested-case proceeding somehow
confers exclusive jurisdiction on itself, through SOAH, to adjudicate Gates's claims.  We reject
that&nbsp;premise.

		Some of our sister courts have concluded that the legislature delegated exclusive
jurisdiction to the Department to adjudicate, through SOAH contested-case hearings, disputes arising
from its investigations of its licensees.  See Schultz, 101 S.W.3d at 518-20, 21-22 (observing that the
family code provisions governing investigations of "foster homes" incorporated chapter 42 of the
human resources code, which contained an exhaustion-of-remedies requirement).  But Gates is not
a licensee of the Department, and the legislature has not required her to pursue complaints regarding
Department investigations through SOAH.  Instead, it has mandated that she receive the ARIF
remedy and explicitly made it non-exclusive of any judicial remedies she may possess.  Tex. Fam.
Code Ann. § 261.309(e).  The SOAH proceeding that the Department is attempting to force upon
Gates, in short, is a creature entirely of its own making, ostensibly section 700.516(j).  But exclusive
jurisdiction of an agency, again, exists only when and if the legislature divests the judiciary
of&nbsp;the&nbsp;subject-matter jurisdiction it otherwise presumptively possesses to adjudicate a dispute.
Subaru, 84&nbsp;S.W.3d at 221.  We reject the notion that by promulgating or applying section 700.516(j),
the&nbsp;Department could divest the judiciary of its subject-matter jurisdiction.

		Furthermore, we agree with Gates that section 700.516(j) does not authorize the
agency to unilaterally "waive" her ARIF remedy and force her into a SOAH contested-case
proceeding that she does not want.  "We construe administrative rules, which have the same force
as statutes, in the same manner as statutes."  Rodriguez v. Service Lloyds Ins. Co., 997 S.W.2d 248,
254 (Tex. 1999).  "Unless the rule is ambiguous, we follow the rule's clear language."  Id.  Although
we defer to an agency's interpretation where there is vagueness, ambiguity, or room for policy
determinations in the regulation, we cannot defer to an administrative interpretation that is plainly
erroneous or inconsistent with the regulation or the underlying statute.  Id. at 254-55 (quoting Public
Util. Comm'n of Tex. v. Gulf States Util. Co., 809 S.W.2d 201, 207 (Tex. 1991)); BFI Waste Sys. of
N. Am., Inc. v. Martinez Envtl. Group., 93 S.W.3d 570, 575 (Tex. App.--Austin 2002, pet. denied). 
Here, the Department's interpretation of section 700.516(j) is contrary to the legislature's express
mandate that Gates have an ARIF if she timely requests it.





CONCLUSION

		For these reasons, we conclude that the district court erred in holding that it lacked
subject-matter jurisdiction because Gates failed to exhaust administrative remedies.  We accordingly
reverse the judgment of the district court dismissing Gates's suit and remand for further proceedings. 


						_____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Reversed and Remanded

Filed:   April 18, 2008
1.   Because there have been no amendments to the governing statutes during the relevant time
period that are material to this proceeding, we cite the statutes' current versions for convenience.
2.   See also Tex. Fam. Code Ann. § 261.001(5) (West Supp. 2007) ("person[s] responsible for
a child's care, custody or welfare" includes a child's parents, guardians, managing or possessory
conservators, and foster parents).
3.   Although information maintained on the central registry is generally made confidential,
during this litigation Gates has continually disclosed her placement on the registry.  Cf. Brief
of&nbsp;Appellant, L.C. v. Texas Dep't of Family &amp; Protective Servs., No. 03-07-00055-CV
(Tex.&nbsp;App.--Austin notice of appeal filed Jan. 29, 2007) (party identified by pseudonym challenging
placement on central registry).
4.   Brief of Appellee at 5, L.C. v. Texas Dep't of Family &amp; Protective Servs., No. 03-07-00055-CV (Tex. App.--Austin notice of appeal filed Jan. 29, 2007).
5.   The Department apparently relied on the pendency of the parental-termination proceeding
and, later, on a section 1983 action the Gateses filed in federal court against the Department on
behalf of their children.  The Gateses question this explanation, suggesting "gaps" and observing that
the Department ultimately elected to schedule the ARIF while the federal litigation was still pending. 
6.   See Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 37.001-.011 (West 1997 &amp; Supp. 2007).  Gates
also sought attorney's fees.  Id. § 37.009 (West 1997).
7.   The Department introduced this correspondence in support of its plea to the jurisdiction. 
8.   In its plea to the jurisdiction, the Department acknowledges that it actually made the
decision to waive the ARIF four days earlier, on September 21, 2006.
9.  The district court also entered findings of fact and conclusions of law, but they are
ultimately immaterial to the legal questions that are dispositive of this appeal.
10.  Gates pleads only that the Department's procedures for initial risk assessment,
administrative determination of abuse, maintaining of her name in the central registry, and continued
"monitoring" of her family on that basis violate her fundamental right and liberty interest in familial
integrity without due process of law.  Specifically, Gates alleged that she was "denied a fair
and&nbsp;impartial determination" because (1) "investigators are not trained nor, directed nor, is it their
focus to gather and develop exculpatory evidence" and the Department here "ignored and
disregarded exculpatory information"; (2) the Department "is charged with gathering evidence and
is also charged with 'adjudicating' Plaintiff as a 'perpetrator'"; (3) the Department "immediately
filed a civil suit against Plaintiff [that] creates an adversarial situation"; (4) the Department's
requirement to "prove to the Court the reason for taking possession of the children" also creates an
"adversarial situation"; and (5) "the 'preponderance of the evidence' standard is whatever evidence
[the Department] deems credible and a 'preponderance.'"


	Gates also pled that she was denied due process by the application of a preponderance-of-the-evidence standard rather than clear-and-convincing evidence, "because of several unconstitutional
policies and procedures," the Department's "total discretion" in its determination and absence of
judicial oversight, and the vagueness of the Department's standards.


